            Case 2:23-cv-00237-MMD-DJA Document 53 Filed 10/10/23 Page 1 of 2




1    George Haines, Esq.
     Nevada Bar No.: 9411
2    Gerardo Avalos, Esq.
3    Nevada Bar No.: 15171
     FREEDOM LAW FIRM
4
     8985 S. Eastern Ave., Suite 100
5    Las Vegas, Nevada 89123
6    (702) 880-5554
     (702) 385-5518 (fax)
7    Ghaines@freedomlegalteam.com
8    Attorneys for Plaintiff Anne Evans
9
                      UNITED STATES DISTRICT COURT
10                         DISTRICT OF NEVADA
11
12    Anne Evans,                                 Case No.: 2:23-cv-00237-MMD-DJA
13
                     Plaintiff,                   Stipulation for dismissal of Bank of
14                                                America, N.A.
       v.
15
16    Equifax Information Services, LLC;
17    Bank of America, N.A.; Citigroup,
      Inc./Citicards CBNA; JPMorgan Chase
18
      Bank, N.A.; and Capital One Bank,
19    N.A,
20
21                   Defendants.
22
            Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Anne Evans
23
     and Bank of America, N.A. stipulate to dismiss Plaintiff's claims against Bank of
24
     America, N.A. with prejudice.
25
     ///
26
     ///
27   ///

     _____________________
     STIPULATION                            -1-
          Case 2:23-cv-00237-MMD-DJA Document 53 Filed 10/10/23 Page 2 of 2




1          Each party will bear its own costs, disbursements, and attorney fees.
2          Dated: October 10, 2023.
3
4
5    FREEDOM LAW FIRM
6
     /s/ George Haines            .
7    George Haines, Esq.
8    8985 S. Eastern Ave., Suite 100
     Las Vegas, Nevada 89123
9    Counsel for Plaintiff Anne Evans
10
     WRIGHT, FINLAY & ZAK, LLP
11
12   /s/ Jory C. Garabedian      .
     Darren T. Brenner, Esq.
13
     Jory C. Garabedian, Esq.
14   Wright, Finlay & Zak, LLP
15   7785 W. Sahara Ave., Ste. 200
     Las Vegas, NV 89117
16   Counsel for Bank of America, N.A.
17
18                                         IT IS SO ORDERED:
19
20                                         _______________________________
                                           UNITES STATES DISTRICT JUDGE
21
22
                                           DATED:________________________
23
24
25
26
27

     _____________________
     STIPULATION                            -2-
